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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK
______________________________________

JEFFREY ROTHMAN

   PLAINTIFF
                                                          CIVIL No. 19-0225 (CM) (OTW)
   vs
                                                         AMENDED PLAINTIFF’S
THE CITY OF NEW YORK, a municipal entity,                PROPOSED VERDICT FORM
NEW YORK CITY POLICE DETECTIVE
ANDREW WUNSCH, Shield # 6570, and NEW
YORK CITY POLICE SERGEANT VINCENT
FLOREZ, Shield # 3903,

   DEFENDANTS
______________________________________


                      PLAINTIFF’S PROPOSED VERDICT FORM

          Pursuant to Fed.R.Civ.P. 49, Plaintiff submits the following proposed verdict

form, which Plaintiff proposes that the Court use in connection with the trial in this

action.

               GENERAL VERDICT FORM – LIABILITY AND DAMAGES

FOURTH AMENDMENT SEIZURE OF PROPERTY CLAIM
AGAINST DEFENDANT WUNSCH

          1.     Is Defendant New York City Police Detective Andrew Wunsch liable to

                 Plaintiff Jeffrey Rothman on Plaintiff Rothman’s Fourth Amendment

                 Seizure of Property claim?

                 _____ Yes _____ No

          If your answer to Question No. 1 is “YES” then Plaintiff Rothman will be

awarded $1.00 in nominal damages on that claim from Defendant Wunsch, and you are to
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answer Question Nos. 2 and 3. If your answer to Question No. 1 is “NO” then proceed to

question No. 4.

       2.     Do you find that Defendant Wunsch should pay punitive damages to

              Plaintiff Rothman in relation to Plaintiff Rothman’s Fourth Amendment

              seizure of property claim?

              _____ Yes _____ No

       3.     If your answer to Question No. 2 is “YES”, what sum of money should be

              assessed against Defendant Wunsch as punitive damages in relation to

              Plaintiff Rothman’s Fourth Amendment seizure of property claim?

              $_______________


NEW YORK STATE LAW ASSAULT CLAIM AGAINST
DEFENDANT WUNSCH AND AGAINST DEFENDANT CITY OF NEW YORK

       4.     Is Defendant New York City Police Detective Andrew Wunsch liable to

              Plaintiff Jeffrey Rothman on Plaintiff Rothman’s assault claim?

              _____ Yes _____ No

       If your answer to Question No. 4 is “YES” then Plaintiff Rothman will be

awarded $1.00 in nominal damages on that claim from Defendant Wunsch and from

Defendant City of New York, and you are to answer Question Nos. 5 and 6. If your

answer to Question No. 4 is “NO” then proceed to question No. 7.



       5.     Do you find that Defendant Wunsch should pay punitive damages to

              Plaintiff Rothman in relation to Plaintiff Rothman’s assault claim?

              _____ Yes _____ No




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       6.     If your answer to Question No. 5 is “YES”, what sum of money should be

              assessed against Defendant Wunsch as punitive damages in relation to

              Plaintiff Rothman’s assault claim?

              $_______________


NEW YORK STATE LAW BATTERY CLAIM AGAINST
DEFENDANT WUNSCH AND AGAINST DEFENDANT CITY OF NEW YORK

       7.     Is Defendant New York City Police Detective Andrew Wunsch liable to

              Plaintiff Jeffrey Rothman on Plaintiff Rothman’s battery claim?

              _____ Yes _____ No

       If your answer to Question No. 7 is “YES” then Plaintiff Rothman will be

awarded $1.00 in nominal damages on that claim from Defendant Wunsch and from

Defendant City of New York, and you are to answer Question Nos. 8 and 9. If your

answer to Question No. 7 is “NO” then proceed to question No. 10.



       8.     Do you find that Defendant Wunsch should pay punitive damages to

              Plaintiff Rothman in relation to Plaintiff Rothman’s battery claim?

              _____ Yes _____ No

       9.     If your answer to Question No. 8 is “YES”, what sum of money should be

              assessed against Defendant Wunsch as punitive damages in relation to

              Plaintiff Rothman’s battery claim?

              $_______________




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NEW YORK STATE LAW CONVERSION CLAIM AGAINST
DEFENDANT WUNSCH AND AGAINST DEFENDANT CITY OF NEW YORK

       10.    Is Defendant New York City Police Detective Andrew Wunsch liable to

              Plaintiff Jeffrey Rothman on Plaintiff Rothman’s conversion claim?

              _____ Yes _____ No

       If your answer to Question No. 10 is “YES” then Plaintiff Rothman will be

awarded $1.00 in nominal damages on that claim from Defendant Wunsch and from

Defendant City of New York, and you are to answer Question Nos. 11 and 12. If your

answer to Question No. 10 is “NO” then proceed to question No. 13.



       11.    Do you find that Defendant Wunsch should pay punitive damages to

              Plaintiff Rothman in relation to Plaintiff Rothman’s conversion claim?

              _____ Yes _____ No

       12.    If your answer to Question No. 8 is “YES”, what sum of money should be

              assessed against Defendant Wunsch as punitive damages in relation to

              Plaintiff Rothman’s conversion claim?

              $_______________



NEW YORK STATE LAW ASSAULT CLAIM AGAINST
DEFENDANT FLOREZ AND AGAINST DEFENDANT CITY OF NEW YORK

       13.    Is Defendant New York City Police Sergeant Vincent Florez liable to

       Jeffrey Rothman on Plaintiff Rothman’s assault claim?

              _____ Yes _____ No

       If your answer to Question No. 13 is “YES” then Plaintiff Rothman will be

awarded $1.00 in nominal damages on that claim from Defendant Florez and from


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Defendant City of New York, and you are to answer Question Nos. 14 and 15. If your

answer to Question No. 13 is “NO” then proceed to question No. 16.



       14.     Do you find that Defendant Florez should pay punitive damages to

               Plaintiff Rothman in relation to Plaintiff Rothman’s assault claim?

               _____ Yes _____ No

       15.     If your answer to Question No. 14 is “YES”, what sum of money should

               be assessed against Defendant Florez as punitive damages in relation to

               Plaintiff Rothman’s assault claim?

               $_______________


NEW YORK STATE LAW BATTERY CLAIM AGAINST
DEFENDANT FLOREZ AND AGAINST DEFENDANT CITY OF NEW YORK

       16.     Is Defendant New York City Police Sergeant Vincent Florez liable to

               Plaintiff Jeffrey Rothman on Plaintiff Rothman’s battery claim?

               _____ Yes _____ No

       If your answer to Question No. 16 is “YES” then Plaintiff Rothman will be

awarded $1.00 in nominal damages on that claim from Defendant Florez and from

Defendant City of New York, and you are to answer Question Nos. 17 and 18. If your

answer to Question No. 16 is “NO” then you have finished completing the verdict form

and you should proceed to the signature line.



       17.     Do you find that Defendant Florez should pay punitive damages to

               Plaintiff Rothman in relation to Plaintiff Rothman’s battery claim?

               _____ Yes _____ No


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       18.     If your answer to Question No. 17 is “YES”, what sum of money should

               be assessed against Defendant Florez as punitive damages in relation to

               Plaintiff Rothman’s battery claim?

               $_______________



       You have completed all questions. Please proceed to the signature line.

Foreperson, please sign and date the verdict sheet. Then, without disclosing your verdict,
advise the Court in a note that you have reached a verdict and are ready to return to the
courtroom to announce your verdict.


DATED:         October ___, 2020
               New York, NY


                                                       _____________________________
                                                       FOREPERSON



Dated: New York, NY
       October 1, 2020
                                                       Respectfully submitted,

                                                       ________/S/_____________
                                                       JEFFREY A. ROTHMAN, Esq.
                                                       305 Broadway, Suite 100
                                                       New York, NY 10007
                                                       (212) 227-2980




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